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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                                Chapter 11
    BARFLY VENTURES, LLC, et al, 1                              Case No. 20-01947-jwb
                                                                Hon. James W. Boyd
                      Debtors.                                  Jointly Administered
    ______________________________________/

        NOTICE OF FINAL APPLICATION OF SUGAR FELSENTHAL GRAIS &
    HELSINGER LLP FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS
      COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

       Notice is hereby given that the following professional persons have made application to
the United States Bankruptcy Court for the Western District of Michigan for allowance and
payment of fees and expenses incurred for the period from November 1, 2020 through February
28, 2021, as listed below:

    Professional (name and address):               Sugar Felsenthal Grais & Helsinger, LLP
                                                   30 N. LaSalle Street, Suite 3000
                                                   Chicago, IL 60602

    Fees requested:                                $35,500.00

    Expenses requested:                            $0.00

    Fees and expenses previously allowed by        $258,150.00 in fees and $35.00 in expenses
    Court:                                         pursuant to the Interim Fee Order


PLEASE NOTE: The application is available for public review at the Clerk’s Office, One Division
North, Grand Rapids, Michigan, Monday through Friday, from 8:00 a.m. – 4:00 p.m. No hearing
will be set before the Court unless a written objection to this application is timely filed with the
Clerk of the Bankruptcy Court. If you have any objection, you have 21 days from the date of


1
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).


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service of this notice in which to file such written objection. If an objection is filed, a subsequent
notice will be sent to you of the date, time and location of the hearing on the objection.

                     ANY OBJECTION MUST BE TIMELY FILED WITH:

                                  United State Bankruptcy Court
                                       One Division North
                                  Grand Rapids, Michigan 49503

                 A COPY OF ANY OBJECTION MUST ALSO BE SENT TO:

                                  Jaffe Raitt Heuer & Weiss, P.C.
                                         Attn: Paul R. Hage
                                    27777 Franklin, Suite 2500
                                    Southfield, Michigan 48034
                                        phage@jaffelaw.com


                                               Respectfully submitted by,

                                               JAFFE RAIT HEUER & WEISS, P.C.

                                               By:    /s/ Paul R. Hage
                                               Paul R. Hage (P70460)
                                               27777 Franklin Road, Suite 2500
                                               Southfield, MI 48034
                                               Phone: (248) 351-3000
                                               phage@jaffelaw.com

                                               -and-

                                               SUGAR FELSENTHAL GRAIS &
                                               HELSINGER, LLP

                                               Michael A. Brandess
                                               30 N. LaSalle Street, Suite 3000
                                               Chicago, IL 60602
                                               Phone: (312) 704-9400
                                               mbrandess@sfgh.com

                                               Counsel to the Official Committee of Unsecured
                                               Creditors of Barfly Ventures, LLC et al.

Dated: March 5, 2021.
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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                                     Chapter 11
    BARFLY VENTURES, LLC, et al, 2                                   Case No. 20-01947-jwb
                                                                     Hon. James W. Boyd
                      Debtors.                                       Jointly Administered
    ______________________________________/

       FINAL APPLICATION OF SUGAR FELSENTHAL GRAIS & HELSINGER, LLP
            FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS
        COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             Sugar Felsenthal Grais & Helsinger, LLP (“SFGH”), counsel to the Official Committee of

Unsecured Creditors of Barfly Ventures, LLC (the “Committee”) appointed in the above-captioned

chapter 11 cases, submits this final application (the “Fee Application”) for compensation for

services rendered and reimbursement of expenses incurred as counsel to the Committee including:

(i) final approval of $258,185 in fees and expenses previously approved under the Interim Fee

Order (as that term is defined below), and (ii) final approval of $35,500 in fees and expenses

incurred from November 1, 2020 through February 28, 2021 (the “Application Period”), pursuant

to sections 330 and 331 of the Bankruptcy Code, Rule 2016 of the Federal Rules of Bankruptcy

Procedure, Local Bankruptcy Rule 2016-2 and the Order Establishing Procedures for Interim




2
 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(1129),
50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand Rapids Brewing
Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-
Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC
(9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970), HopCat-
Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington,
LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-
Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis,
LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant
Saloon)(4255).
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Compensation and Reimbursement of Expenses of Professionals [Doc. No. 113] (the

“Compensation Order”). 3 In support of this Fee Application, SFGH states:

                                             Jurisdiction & Venue

         1.       The Court has jurisdiction over this matter under 28 U.S.C. § 1334 and

28 U.S.C. § 157(a). This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this

District under 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief requested in this Fee

Application are sections 330, 331 and 503(b)(2), Bankruptcy Rule 2016 and Local Bankruptcy

Rule 2016-2.

                                                  Background

         2.       On June 3, 2020, Barfly Ventures, LLC and its affiliates (collectively, the

“Debtors”) filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The

Debtors continue to manage their remaining assets and financial affairs as debtors in possession.

         3.       The Office of the United States Trustee appointed the Committee on June 23, 2020

[Doc. No. 85].

         4.       The Court entered an order approving SFGH’s employment as counsel for the

Committee, retroactive to June 25, 2020, on August 10, 2020 [Doc. No. 230] (the “Employment

Order”).

         5.       The Court entered the Compensation Order on June 30, 2020. The Compensation

Order authorizes professionals retained in these cases, including SFGH, to file with the Court and

serve monthly statements of fees and expenses on parties identified in the Compensation Order.




3
 The Bankruptcy Code is set forth in 11 U.S.C. §§ 101 et seq. Specific sections of the Bankruptcy Code are identified
herein as “section __.” Similarly, specific rules from the Federal Rules of Bankruptcy Procedure are identified herein
as “Bankruptcy Rule __” and specific rules from the Local Bankruptcy Rules of the United States Bankruptcy Court
for the Western District of Michigan are identified herein as “Local Bankruptcy Rule __.”
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If no timely objections were filed, the Debtors were authorized to pay each professional 80% of

the fees and 100% of the expenses requested in each monthly statement.

       6.      On October 21, 2020, the Court entered the Amended Order (I) Authorizing the Sale

of Substantially All of the Debtors’ Assets Free and Clear of all Liens, Claims, Encumbrances,

and Other Interests, (II) Authorizing the Assumption and Assignment of Certain Executory

Contracts and Unencumbered Leases, and (III) Granting Related Relief [Doc No. 376] (the “Sale

Order”). Among other things, the Sale Order established a Wind-Down Budget that contemplated

payment in full of all professional fees anticipated to be incurred in these cases through conversion

subject to certain caps. See Sale Order, at ¶ 33. The Sale Order also provided that, to the extent

any funds allocated for payment of estate professionals’ fees were not utilized in full prior to

conversion of these cases, such funds would be returned to the Prepetition Secured Lenders. Id.

       7.      On December 30, 2020, the Court entered the Order Approving First Application

of Sugar Felsenthal Grais & Helsinger, LLP for Compensation & Reimbursement of Expenses as

Counsel to the Official Committee of Unsecured Creditors [Doc. No. 433] (“Interim Fee Order”)

wherein it granted SFGH interim compensation in the amount of $258,185 pursuant to section 331

for professional fees and expenses incurred in these cases through October 31, 2020.

                                   Request for Compensation

       8.      By this Fee Application, SFGH seeks final approval of the fees and expenses

allowed and paid pursuant to the Interim Fee Order.

       9.      Additionally, in connection with professional services rendered to the Committee

in these cases during the Application Period, SFGH seeks allowance of an administrative expense

pursuant to section 503(b)(2) in the amount of $35,500, which consists of compensation in the

amount of $35,500 and reimbursement of expenses incurred in the amount of $0.00.
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       10.     Attached to this Fee Application as Exhibits A and B are detailed statements of the

fees incurred during the Application Period (the “Statements”). The time described in the

Statements represents the actual amount of time spent or, in certain instances, less than the actual

amount of time spent by SFGH attorneys and paralegals who rendered the services described.

Certain time reflected in the Statements has been either reduced or “no-charged” by SFGH to

reduce the burden on the estates related to multiparty conferences or to other services deemed in

hindsight to warrant adjustment.

       11.     SFGH’s hourly rates of compensation for attorneys and paraprofessionals during

the Application Period ranged from $575.00 to $685.00, subject to an hourly blended rate cap of

$500.00 per hour as approved under the terms of the Employment Order. These rates are

comparable to, or lower than, rates charged by other practitioners having the same level of

experience, expertise, and standing for similar services. SFGH consistently and consciously made

every reasonable effort to represent the Committee in the most economical, efficient, and practical

manner possible.

       12.     SFGH professionals expended significant effort during the Application Period to

ensure the successful administration of these chapter 11 cases. On behalf of the Committee, SFGH

assisted with the preparation and prosecution of a motion to substantively consolidate the Debtors’

bankruptcy estates and to convert these cases to chapter 7 upon completion of certain identified

milestones, investigated certain claims and causes of action belonging to the Debtors’ estates and

took efforts to preserve such claims and causes of action for the benefit of the chapter 7 trustee,

and addressed various other issues consistent with their duties as counsel for the Committee.

Accordingly, the time spent and expenses incurred during the Application Period were necessary

and appropriate under the circumstances.
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       13.      The services rendered by SFGH during the Application Period are grouped into

various categories, and the attorneys and paraprofessionals who rendered those services are

identified—along with the number of hours spent by each individual and the total compensation

sought for each category—in the attachments to this Fee Application. Brief descriptions of the

services rendered by SFGH during the Application Period, by category, follow:

     A.      General Case Administration

       SFGH spent 43.2 hours performing services related to the administration of the chapter 11

cases during the Application Period. This category includes communicating with other estate

professionals regarding the status of the cases, evaluating conversion alternatives, preparing and

prosecuting a motion to substantively consolidate the Debtors’ bankruptcy estates and to convert

these cases to chapter 7 upon completion of certain identified milestones and evaluating various

options for generating a distribution to general unsecured creditors.

     B.      Employment & Fee Applications

       SFGH spent 1.9 hours during the Application Period preparing, reviewing and transmitting

monthly fee statements and interim and final fee applications submitted by SFGH and other estate

professionals in these chapter 11 cases.

     C.      Claims Analysis & Objections

       SFGH spent 7.7 hours during the Application Period reviewing the Debtors’ schedules of

assets and liabilities, reviewing claims filed in these chapter 11 cases and objecting to or otherwise

addressing such claims.

     D.      Creditor Inquiries, Negotiations & Settlements

       SFGH spent .2 hours responding to inquiries from creditors about their claims in the

Debtors’ bankruptcy cases.
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      E.        Committee Meetings & Governance

          SFGH spent 2.5 hours participating in meetings and otherwise communicating with

Committee members and/or their counsel regarding case strategy and status during the Application

Period.

      F.        Litigation and Contested Matters

          SFGH spent 15.2 hours analyzing and seeking to preserve potential causes of action

belonging to the Debtors’ estates which may be pursued by the chapter 7 trustee, once appointed.

This includes time spent negotiating and obtaining extensions of the deadline for the Committee

or the chapter 7 trustee to commence a non-dischargeability adversary proceeding in the chapter

11 case of the Debtors’ affiliate, Mark Sellers; obtaining standing to file, and filing, claims in other

affiliate bankruptcy cases; and reviewing filings in such cases.

          14.      SFGH submits that the compensation sought under this Fee Application represents

a fair and reasonable amount for the services rendered during the Application Period, given the

criteria set forth in section 330 for evaluating applications for compensation, namely:

               (A) the time spent on such services;
               (B) the rates charged for such services;
               (C) whether the services were necessary to the administration of, or beneficial
          at the time at which the service was rendered toward the completion of, a case under
          this title;
               (D) whether the services were performed within a reasonable amount of time
          commensurate with the complexity, importance, and nature of the problem, issue,
          or task addressed;
               (E) with respect to a professional person, whether the person is board certified
          or otherwise has demonstrated skill and experience in the bankruptcy field; and
               (F) whether the compensation is reasonable based on the customary
          compensation charged by comparably skilled practitioners in cases other than cases
          under this title.

11 U.S.C. § 330(a)(3).
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       15.     Because there may be other actions that need to be taken prior to conversion of

these cases in order to aid the soon to be appointed chapter 7 trustee in successfully maximizing

the recovery to unsecured creditors, the professionals retained by the Committee may need to

continue providing some services between the date of the filing of this Fee Application and the

conversion date. It would be problematic if the Committee’s professionals were obliged to cease

all work following the filing of this Fee Application.

       16.     Accordingly, no later than eight days before they submit proposed orders approving

their final fee applications, the Committee’s professionals propose to file supplemental fee

statements with any additional time or expenses incurred (each a “Supplemental Fee Statement”

and, collectively, the “Supplemental Fee Statements”) subsequent to the Application Period. The

Committee professionals will serve the Supplemental Fee Statements on the notice parties set forth

in the Compensation Order and such notice will provide that such parties shall have a period of

seven days to file any objections to the Supplemental Fee Statements. If no objections are timely

filed, then the fees and expenses set forth in the Supplemental Fee Statements will, subject to Court

approval, likewise be deemed allowed on a final basis.

       17.     The Committee’s professionals submit that the foregoing procedure is appropriate

in this case because: (i) the Committee professionals estimate that the aggregate fees and expenses

set forth on the Supplemental Fee Statements will be minimal, (ii) the funds to be utilized to pay

amounts requested in the Supplemental Fee Statements are capped by the Wind-Down Budget,

(iii) the funds to be utilized to pay amounts requested in the Supplemental Fee Statements will not

impact the estate because, pursuant to the Sale Order, any unused funds will be returned to the

Prepetition Secured Lenders upon conversion of these cases, and (iv) any fees and expenses

exceeding that cap set forth in the Wind-Down Budget will be voluntarily disallowed.
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       18.      In compliance with Bankruptcy Rule 2002(a)(6), Local Bankruptcy Rule 2016-

2(c), and the Compensation Order, SFGH will provide notice of this Fee Application through the

Court’s ECF system to: (a) counsel for the Debtors; (b) the Office of the United States Trustee for

the Western District of Michigan; and (c) parties who have filed a notice of appearance with the

Clerk of the Court and requested notice of filings in these cases. Additionally, SFGH will provide

notice of this Fee Application, by electronic mail, to: (i) BarFly Ventures, LLC, c/o Mark A.

Sellers, III, 35 Oakes Street, SW, Suite 400, Grand Rapids, Michigan 49503, email:

mark@barflyventures.com; (ii) Pachulski Stang Ziehl & Jones LLP (Attn. John Lucas), 150

California Street, 15th Floor San Francisco, California 94111-4500, email: jlucas@pszjlaw.com;

(iii) Warner Norcross + Judd LLP, 1500 Warner Building, 150 Ottawa Avenue, NW, Grand

Rapids, Michigan 49503 (Attn. Elisabeth M. Von Eitzen), email: evoneitzen@wnj.com; (iv) the

Office of the United States Trustee, 125 Ottawa Street, Suite 200R, Grand Rapids, Michigan 49503

(Attn. Michael Maggio), email: michael.v.maggio@usdoj.gov; (v) Rayman & Knight, 141 E

Michigan Ave # 301, Kalamazoo, Michigan 49007 (Attn: Steve Rayman), email:

slr@raymanknight.com; and (vi) Paul Hastings LLP, 71 South Wacker Drive, Suite 4500,

Chicago, Illinois 60606 (Attn: Nathan S. Gimpel), email: nathangimpel@paulhastings.com.

SFGH submits that, in light of the nature of the relief requested, no other or further notice need be

provided.

       WHEREFORE, SFGH respectfully requests that this Court enter an order substantially in

the form attached as Exhibit C to this Fee Application:

       (a)      Allowing and approving, on a final basis, the fees and expenses allowed and paid

                pursuant to the Interim Fee Order.
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      (b)      Allowing and approving, on a final basis, an administrative expense in the amount

               of $35,500, consisting of $35,500 for professional services rendered and $0.00 for

               actual and necessary expenses incurred by SFGH during the Application Period as

               the Committee’s counsel;

      (c)      Allowing and approving, on a final basis, an administrative expense for the fees

               and expenses set forth on any Supplemental Fee Statement filed by SFGH;

      (d)      Authorizing payment to SFGH of all allowed fees and expenses not previously

               paid; and

      (e)      Providing SFGH with any additional relief as may be appropriate under the

               circumstances.

                                            Respectfully submitted by,

Dated: March 5, 2021                        JAFFE RAIT HEUER & WEISS, P.C.

                                            By:    /s/ Paul R. Hage
                                            Paul R. Hage (P70460)
                                            27777 Franklin Road, Suite 2500
                                            Southfield, MI 48034
                                            (248) 351-3000
                                            phage@jaffelaw.com

                                            -and-

                                            SUGAR FELSENTHAL GRAIS &
                                            HELSINGER, LLP

                                            Michael A. Brandess
                                            30 N. LaSalle Street, Suite 3000
                                            Chicago, IL 60602
                                            (312) 704-9400
                                            mbrandess@sfgh.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of Barfly Ventures, LLC
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                           Exhibit A
                    (November 2020 Statement)
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                            Chapter 11
                                         i
    BARFLY VENTURES, LLC, et. al,                           Case No. 20-01947-jwb

              Debtors.                                      (Jointly Administered)




      MONTHLY FEE STATEMENT OF SUGAR FELSENTHAL GRAIS & HELSINGER
     LLP FOR COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF
         EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
                       CREDITORS FOR NOVEMBER 2020


    Name of Applicant:                             Sugar Felsenthal Grais & Helsinger LLP

    Authorized to provide services to:             Official Committee of Unsecured Creditors

    Effective Date of Retention:                   August 10, 2020 (retroactive to June 25)

    Period for which compensation is sought:       November 2020

    Amount of compensation sought as actual,       $10,800.002
    reasonable, and necessary:                     80% = $8,640.00
                                                   20% = $2,160.00

    Amount of expense reimbursement sought:        $0.00

    Total interim request:                         $8,640.00




i The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCatXl 129), 50 Amp Fuse, LLC (d/b/a Stella's Loimge)(3684), GRBC Holdings, LLC, (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat- GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat-KC, LLC and TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994),
Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant Saloon) (4255).
2Pursuant to the Committee's retention of SFGH, SFGH invoices the Committee at a blended hourly rate
of$500.


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                                    Respectfully submitted by,

                                    JAFFE RAIT HEUER & WEISS, P.C.

                                    By:    /s/ Paul R. Hage
                                    Paul R. Hage (P70460)
                                    27777 Franklin Road, Suite 2500
                                    Southfield, MI 48034
                                    (248) 351-3000
                                    pliage@iaffelaw.corn

                                    -and-

                                    SUGAR FELSENTHAL GRAIS &
                                    HELSINGER, LLP

                                    Michael A. Brandess
                                    30 N. LaSalle Street, Suite 3000
                                    Chicago, IL 60602
                                    (312) 704-9400
                                    mbradnessfS),sfgh.com

                                    Counsel for the Official Committee of Unsecured
                                    Creditors of Barfly Ventures, LLC et al.

Dated: December 9, 2020
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                                                                            3 of 32
                                                                                 9
                                                        30 N. LaSalle Street
                                                           Suite 3000
                                                        Chicago, IL 60602
                                                          (312)704-9400




                                                                                                                         Page: 1
      Official Committee of Unsecured Creditors                                                                       11/30/2020
      Barfly Ventures, LLC, et al.                                                                     Account No:    10836-001
      do Gordon Food Service, Inc.                                                                   Statement No:        266342
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      General Case Administration


                                                              Fees

                                                                                                             Hours
11/02/2020    MAB     Review conversion motion (0.3).                                                         0.30       172.50

11/04/2020    MAB     Discussions with potential chapter 7 trustees about case status (1.4); email
                      correspondence and telephone conference with John Lucas regarding
                      conversion motion (0.5); email correspondence with Paul Hage regarding
                      same (0.2).                                                                              2.10     1,207.50

11/05/2020    MAB     Draft supplement to motion to convert (3.9); email correspondence with
                      debtors' professionals regarding same (0.2).                                             4.10     2,357.50

11/06/2020    MAB     Telephone conference with Paul Hage regarding open case issues (0.2).                    0.20      115.00

11/09/2020    NB      Review and compile stipulated motion to approve agreed relief; review and
                      compile stipulated motion to extend time to object to discharge under Rule
                      523 and chapter 11 plan in Mark Sellers bankruptcy action (0.2)                          0.20        50.00

11/12/2020    MAB     Review and revise conversion motion (0.4); telephone conference with Ron
                      Gold regarding chapter 7 trustee (0.3); telephone conference and email
                      correspondence with Paul Hage regarding same (0.4); revise supplement in
                      support of conversion motion (1.4); telephone conference with Michael
                      Maggio regarding chapter 7 trustee (0.3).                                                2.80     1,610.00

11/13/2020    MAB     Multiple strategy conferences with Paul Hage regarding chapter 7 trustee
                      (0.7); telephone conference with Paul Hage and Michael Maggio regarding
                      same (0.4); email correspondence with Elisabeth Van Eitzen regarding
                      same (0.3).                                                                              1.40       805.00

11/15/2020    MAB     Email correspondence with Matthew Murphy regarding credit agreement
                      (0.2).                                                                                   0.20       115.00

11/18/2020    JRO     Email correspondence Paul Hage regarding Sellers hearing 11/19 (0.2).                    0.20       107.00

11/19/2020    MAB     Prepare for and participate in Sellers hearing (1.4); email correspondence
                      with Paul Hage regarding same (0.2); email correspondence with Jason
                      Torf regarding chapter 7 trustee appointment (0.2); email correspondence
                      with Paul Hage regarding same (0.1).                                                     1.90     1,092.50

11/23/2020    MAB     Multiple email correspondence with John Piggins regarding Sellers' plan
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      Official Committee of Unsecured Creditors                                                                  11/30/2020
                                                                                                  Account No:    10836-001
                                                                                                Statement No:        266342
      General Case Administration


                                                                                                        Hours
                     (0.4).                                                                              0.40       230.00

11/25/2020    MAB    Telephone conference with Paul Hage and Jason Torf regarding Sellers'
                     claim objection (0.5).                                                               0.50      287.50

11/30/2020    MAB    Telephone conference with Paul Hage regarding case strategy (0.3); email
                     correspondence with Jason Torf regarding chapter 7 trustee (0.4).                    0.70      402.50
                     For Current Services Rendered                                                       15.00     8,552.00

                                                      Recapitulation
              Timekeeper                                            Hours             Rate            Total
              Michael A. Brandess                                    14.60         $575.00        $8,395.00
              John R. O'Connor                                        0.20          535.00           107.00
              Nancy Bailey                                            0.20          250.00            50.00




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                                         SUGAR FELSENTHAL GRAIS & HELSINGER LLP
                                                   30 N. LaSalle Street
                                                      Suite 3000
                                                   Chicago, IL 60602
                                                     (312)704-9400




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      Official Committee of Unsecured Creditors                                                         11/30/2020
      Barfly Ventures, LLC, et al.                                                       Account No:    10836-005
      c/o Gordon Food Service, Inc.                                                    Statement No:        266344
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Applications - SFGH


                                                            Fees

                                                                                               Hours
11/06/2020    MAB    Draft October monthly fee statement (1.1).                                  1.10      632.50
                     For Current Services Rendered                                               1.10      632.50

                                                       Recapitulation
              Timekeeper                                             Hours      Rate         Total
              Michael A. Brandess                                     1.10   $575.00       $632.50




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                                                                GRAIS & HELS1NGER LLP
                                                       30 N. LaSalle Street
                                                          Suite 3000
                                                       Chicago, IL 60602
                                                         (312)704-9400




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      Official Committee of Unsecured Creditors                                                                      11/30/2020
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-008
      c/o Gordon Food Service, Inc.                                                                 Statement No:       266347
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Claims Analysis & Objections




                                                            Fees

                                                                                                            Hours
11/20/2020    MAB    Draft objection to Mark Sellers' claim (3.4); email correspondence with Paul
                     Hage regarding same (0.2).                                                               3.60

11/23/2020    MAB    Telephone conference with Paul Hage regarding Sellers' claim objection
                     (0.3); email correspondence with Jason Torf regarding same (0.1).                        0.40
                     For Current Services Rendered                                                            4.00     2,300.00

                     Total Current Work                                                                               2,300.00




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                                                        30 N. LaSalle Street
                                                           Suite 3000
                                                        Chicago, IL 60602
                                                          (312)704-9400




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      Official Committee of Unsecured Creditors                                                             11/30/2020
      Barfly Ventures, LLC, et al.                                                           Account No:    10836-010
      c/o Gordon Food Service, Inc.                                                        Statement No:        266348
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Creditor Inquiries, Negotiations, & Settlements


                                                             Fees

                                                                                                   Hours
11/12/2020    MAB     Email correspondence with Jason Torf regarding claim amount (0.2).            0.20
                      For Current Services Rendered                                                  0.20      115.00

                      Total Current Work                                                                       115.00




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                                                  FELSENTHAL GRAIS & HELSINGER LLP
                                                      30 N. LaSalle Street
                                                         Suite 3000
                                                      Chicago, IL 60602
                                                        (312)704-9400




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      Official Committee of Unsecured Creditors                                                                    11/30/2020
      Barfly Ventures, LLC, et al.                                                                  Account No:    10836-011
      c/o Gordon Food Service, Inc.                                                               Statement No:        266349
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Committee Meetings & Governance


                                                             Fees

                                                                                                          Hours
11/03/2020    MAB     Draft email memorandum to committee regarding conversion and
                      substantive consolidation motion (0.4).                                               0.40      230.00

11/04/2020    MAB    Email correspondence with committee regarding case conversion motion
                     and trustee election (0.4); telephone conference with Craig Hall regarding
                     same (0.2).                                                                            0.60      345.00
                     For Current Services Rendered                                                          1.00      575.00

                                                        Recapitulation
              Timekeeper                                              Hours              Rate           Total
              Michael A. Brandess                                      1.00           $575.00         $575.00




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                                                         30 N. LaSalle Street
                                                            Suite 3000
                                                         Chicago, IL 60602
                                                           (312)704-9400




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      Official Committee of Unsecured Creditors                                                                      11/30/2020
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-015
      c/o Gordon Food Service, Inc.                                                                 Statement No:       266350
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Litigation & Contested Matters




                                                               Fees

                                                                                                            Hours
11/06/2020    MAB     Review draft stipulation to extend deadline to file dischargeability action
                      against Mark Sellers (0.3).                                                             0.30
                      For Current Services Rendered                                                           0.30      172.50

                      Total Current Work                                                                                172.50




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                          Exhibit B
          (December 2020 – February 2021 Statement)
                      Case:20-01947-jwb
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                                                        30 N. LaSalle Street
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                                                        Chicago, IL 60602
                                                          (312)704-9400




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      Official Committee of Unsecured Creditors                                                                      02/28/2021
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-001
      c/o Gordon Food Service, Inc.                                                                 Statement No:        269202
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      General Case Administration


                                                              Fees

                                                                                                            Hours
12/02/2020    MAB    Email correspondence and telephone conference with Paul Hage regarding
                     chapter 7 trustee issue (0.3); strategy conference with Mark Melickian
                     regarding same (0.3); email correspondence with Michael Maggio regarding
                     same (0.1); email correspondence with Paul Hage regarding case status
                     and next steps (0.2).                                                                    0.90      517.50

              MSM Telephone call with Michael Brandess regarding conversion and litigation
                  concerns and strategies (0.3).                                                              0.30      205.50

12/03/2020    MAB    Email correspondence with Paul Hage regarding case strategy (0.2); email
                     correspondence with John Piggins regarding Sellers' plan (0.3).                          0.50      287.50

12/07/2020    MAB    Strategy conference with Paul Hage regarding case strategy and go-forward
                     approach (0.3); telephone conference with Michael Maggio regarding same
                     (0.2); multiple strategy conferences with Paul Hage regarding same (0.5);
                     review U.S. Trustee motions (0.8); telephone conferences with John Lucas
                     and Paul Hage regarding same (0.5).                                                      2.30     1,322.50

12/08/2020    MAB    Prepare for Thursday conversion hearing (1.8); review revised conversion
                     orders and provide comment regarding same (0.4).                                         2.20     1,265.00

12/09/2020    MAB    Prepare for Thursday conversion hearing (2.9).                                           2.90     1,667.50

12/10/2020    MAB    Prepare for (1.3) and participate in (2.3) conversion hearing; strategy
                     conferences with case professionals regarding same (0.3); email
                     correspondence with John Lucas regarding same (0.1).                                     4.00     2,300.00

12/14/2020    MAB    Draft declaration in support of substantive consolidation (2.9).                         2.90     1,667.50

12/15/2020    MAB    Draft declaration in support of substantive consolidation (2.2).                         2.20     1,265.00

12/16/2020    MAB    Draft declaration in support of substantive consolidation (1.9); email
                     correspondence with Paul Hage regarding same (0.2).                                      2.10     1,207.50

12/18/2020    MAB    Review revisions to Lidvall declaration (0.3); strategy conference with Paul
                     Hage regarding same (0.2); email correspondence with John Lucas
                     regarding same (0.2); review Sellers' amended chapter 11 plan (0.5).                     1.20      690.00
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      Official Committee of Unsecured Creditors                                                                   02/28/2021
                                                                                                   Account No:    10836-001
                                                                                                 Statement No:        269202
      General Case Administration


                                                                                                         Hours
12/21/2020    MAB    Review revised Lidvall declaration (0.3); email correspondence with John
                     Lucas regarding same (0.1).                                                           0.40      230.00

12/30/2020    MAB    Draft addendum to proofs of claim (1.2); e-mail correspondence with Paul
                     Hage regarding same (0.2); finalize and file same (0.5).                              1.90     1,092.50

01/05/2021    MAB    Email correspondence with debtors' professionals regarding case status
                     (0.3); multiple strategy email correspondence with Paul Hage regarding
                     same (0.2).                                                                           0.50      287.50

01/07/2021    MAB    Participate in Mark Sellers' bankruptcy hearing (0.7); prepare for and
                     participate in conversion and substantive consolidation hearing (1.4);
                     multiple strategy conferences with Paul Hage regarding same (0.3).                    2.40     1,380.00

01/19/2021    MAB    Review Michael Maggio's proposed change to substantive consolidation
                     order (0.3); email correspondence with Paul Hage regarding same (0.2).                0.50      287.50

01/25/2021    MAB    Telephone conference with John Piggins regarding extension of deadline to
                     object to Sellers' discharge (0.3); email correspondence with Paul Hage
                     regarding same (0.2).                                                                 0.50      287.50

01/26/2021    MAB    Telephone conference with Paul Hage regarding case status (0.3).                      0.30      172.50

02/19/2021    MAB    Review Sellers' monthly operating report (0.2).                                       0.20      115.00
                     For Current Services Rendered                                                        28.20    16,248.00

                                                        Recapitulation
              Timekeeper                                              Hours              Rate          Total
              Mark S. Melickian                                         0.30          $685.00        $205.50
              Michael A. Brandess                                      27.90           575.00      16,042.50




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                                                      Chicago, IL 60602
                                                        (312)704-9400




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      Official Committee of Unsecured Creditors                                                         02/01/2021
      Barfly Ventures, LLC, et al.                                                       Account No:    10836-005
      c/o Gordon Food Service, Inc.                                                    Statement No:        268944
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Applications - SFGH


                                                            Fees

                                                                                               Hours
12/02/2020    MAB    Prepare monthly fee statement (0.8).                                       0.80       460.00
                     For Current Services Rendered                                               0.80      460.00

                                                       Recapitulation
              Timekeeper                                             Hours      Rate         Total
              Michael A. Brandess                                     0.80   $575.00       $460.00




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                                                          Suite 3000
                                                       Chicago, IL 60602
                                                         (312)704-9400




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      Official Committee of Unsecured Creditors                                                                     02/28/2021
      Barfly Ventures, LLC, et al.                                                                 Account No:      10836-006
      c/o Gordon Food Service, Inc.                                                              Statement No:          269126
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Application - other professionals


                                                            Fees

                                                                                                            Hours
02/18/2021    MAB    Email correspondence with Sheldon Stone regarding final fee application
                     (0.3).                                                                                  0.30      172.50
                     For Current Services Rendered                                                           0.30      172.50

                                                        Recapitulation
              Timekeeper                                              Hours            Rate            Total
              Michael A. Brandess                                      0.30         $575.00          $172.50


                     Total Current Work                                                                                172.50


                     Balance Due                                                                                      $172.50

                                                      Past Due Amounts
                                 0-30             31-60         61-90             91-120            121+
                               172.50              0.00          0.00              36.98         5,329.26

                                                        Billing History
                                       Fees       Expenses       Finance Charge      Payments
                                   15,514.00          0.00                 0.00       9,975.26




                     MAB/MSM/EBV/JPF/JRO

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      Official Committee of Unsecured Creditors                                                                    02/28/2021
      Barfly Ventures, LLC, et al.                                                                  Account No:    10836-008
      c/o Gordon Food Service, Inc.                                                               Statement No:        269204
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Claims Analysis & Objections




                                                              Fees

                                                                                                          Hours
12/02/2020    MAB    Review Michigan tax claims (0.3).                                                     0.30

12/22/2020    MAB    Telephone conference with Paul Hage regarding Mark Sellers employment
                     agreement and claim objection (0.3).                                                   0.30

12/24/2020    MAB    Review Mark Sellers employment agreement regarding claim objection
                     (0.7); telephone conference with Paul Hage regarding same (0.3).                       1.00

12/28/2020    MAB    Attention to correspondence regarding withdrawal of claim objection (0.3).             0.30

01/26/2021    MAB    Review claims and create list of potential objections (1.8).                           1.80
                     For Current Services Rendered                                                          3.70     2,127.50

                     Total Current Work                                                                              2,127.50




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      Official Committee of Unsecured Creditors                                                                  02/01/2021
      Barfly Ventures, LLC, et al.                                                                Account No:    10836-011
      c/o Gordon Food Service, Inc.                                                             Statement No:        268949
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Committee Meetings & Governance


                                                           Fees

                                                                                                        Hours
12/01/2020    MAB    Email correspondence and multiple strategy conferences with Paul Hage
                     and Jason Torf regarding chapter 7 trustee (0.4).                                    0.40      230.00

12/07/2020    MAB    Email correspondence with Jason Torf regarding chapter 11 trustee motion
                     (0.2).                                                                               0.20      115.00

01/27/2021    MAB    Multiple email correspondence with committee regarding conversion order
                     and Mark Sellers' bankruptcy plan (0.9).                                             0.90      517.50
                     For Current Services Rendered                                                        1.50      862.50

                                                      Recapitulation
              Timekeeper                                            Hours            Rate             Total
              Michael A. Brandess                                    1.50         $575.00           $862.50




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      Official Committee of Unsecured Creditors                                                                      02/28/2021
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-015
      c/o Gordon Food Service, Inc.                                                                 Statement No:        269205
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Litigation & Contested Matters




                                                                Fees

                                                                                                            Hours
12/07/2020    MAB    Draft 2004 motion of potential litigation targets (1.8).                                1.80

12/16/2020    MAB    Draft 2004 motion of potential litigation targets (0.6).                                 0.60

12/18/2020    MAB    Draft 2004 motion of potential litigation targets (1.2).                                 1.20

12/28/2020    MAB    Draft riders to 2004 motion of potential litigation targets (2.3).                       2.30

12/29/2020    MAB    Draft 2004 motion of potential litigation targets (2.9).                                 2.90

12/30/2020    MAB    Draft 2004 motion of potential litigation targets (1.4).                                 1.40

01/19/2021    MAB    Revise and continue drafting 2004 motion of Sellers and other insiders
                     (2.4).                                                                                   2.40

01/28/2021    MAB    Continue drafting 2004 motion and riders (1.3); e-mail correspondence with
                     Paul Hage regarding same (0.2).                                                          1.50

02/01/2021    MAB    Review stipulation extending deadline to object to Sellers' discharge (0.2);
                     e-mail correspondence with Paul Hage regarding same (0.1).                               0.30

02/08/2021    MAB    Telephone conference with Mark Melickian regarding D&O claims (0.3);
                     email correspondence and telephone conference with Paul Hage regarding
                     same (0.2).                                                                              0.50
                     For Current Services Rendered                                                           14.90     8,567.50
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                           Exhibit C
                       (Proposed Order)
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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                               Chapter 11
    BARFLY VENTURES, LLC, et al, 4                             Case No. 20-01947-jwb
                                                               Hon. James W. Boyd
                      Debtors.                                 Jointly Administered
    ______________________________________/

     ORDER APPROVING FINAL APPLICATION OF SUGAR FELSENTHAL GRAIS &
    HELSINGER, LLP FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS
       COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             This matter having come before the Court on the Final Application of Sugar Felsenthal

Grais & Helsinger, LLP for Compensation & Reimbursement of Expenses as Counsel to the

Official Committee of Unsecured Creditors (the “Application”) 5 filed by Sugar Felsenthal Grais

& Helsinger, LLP (“SFGH”); notice of the Fee Application being sufficient and consistent with

the Compensation Order; and no objections to the Fee Application having been filed:

             IT IS HEREBY ORDERED:

             1.      The Fee Application is granted.

             2.      The fees and expenses allowed and paid pursuant to the Interim Fee Order are

allowed and approved on a final basis.




4
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).
5
 Capitalized terms not otherwise defined herein shall have the meaning given to them in the Fee
Application.
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       3.      SFGH is granted an allowed administrative expense under section 503(b)(2) for

professional fees and expenses incurred during the Application Period in the amount of $35,500.

       4.      The fees and expenses set forth on the Supplemental Fee Statement filed by SFGH

are allowed and approved on a final basis.

       5.      The Debtors are authorized and directed to promptly pay to SFGH the outstanding

balance of the fees and expenses allowed under this Order.

       6.      This Court retains exclusive jurisdiction to resolve any dispute arising from or

related to this Order.

                                       END OF ORDER


Order prepared and submitted by:

JAFFE RAITT HEUER & WEISS, P.C.
Paul R. Hage (P70460)
27777 Franklin, Suite 2500
Southfield, Michigan 48034
Phone: (248) 351-3000
phage@jaffelaw.com

Counsel for the Official Committee of Unsecured
Creditors of Barfly Ventures, LLC et. al.
